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                                     United States District Court
                                    Southern District of New York
Virginia L. Giuffre,

Plaintiff,                                        Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

Defendant.

____________________________/

     DECLARATION OF SIGRID S. McCAWLEY IN PLAINTIFF’S OPPOSITION TO
        DEFENDANT’S MOTION TO REOPEN DEPOSITION OF PLAINTIFF

             I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

        1.         I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

        2.         I respectfully submit this Declaration in Opposition of Defendant’s Motion to

Reopen Deposition of Plaintiff.

        3.         Attached hereto as Sealed Exhibit 1 is a true and correct copy of Judith Lightfoot

Redacted Medical Records (Giuffre005431-005438).

        4.         Attached hereto as Sealed Exhibit 2 is a true and correct copy of Judith

Lightfoot’s June 27, 2016 Correspondence (GIUFFRE006636).



             I declare under penalty of perjury that the foregoing is true and correct.

                                                  /s/ Sigrid S. McCawley
                                                  Sigrid S. McCawley, Esq.
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Dated: June 28, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid McCawley
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of June, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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                                                     /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley




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